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LAWYERS for JUSTICE, PC




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                          410 West Arden Avenue, Suite 203
                              Glendale, California 91203




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                                                                                            UNITED STATES DISTRICT COURT
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                                                             14                            CENTRAL DISTRICT OF CALIFORNIA

                                                             15
                                                                  JAMIE FULTON, individually, and on behalf      Case No.: 5:22−cv−00537−SVW−PD
                                                             16   of other members of the general public
                                                                  similarly situated;                            Honorable Stephen V. Wilson
                                                             17
                                                                                                                 CLASS ACTION
                                                                              Plaintiff,
                                                             18
                                                                        vs.                                      ORDER GRANTING JOINT
                                                             19                                                  STIPULATION OF DISMISSAL
                                                                  FIRST TRANSIT SERVICES, INC., an               PURSUANT TO FEDERAL RULE OF
                                                             20   unknown business entity; FIRST TRANSIT,        CIVIL PROCEDURE RULE
                                                                  INC., an unknown business entity; FIRST        41(a)(1)(A)(ii)
                                                             21   GROUP AMERICA, an unknown business
                                                                                                                 [Filed concurrently with Joint Stipulation
                                                                  entity; and DOES 1 through 100, inclusive,    of Dismissal, and Declaration of Margaux
                                                             22
                                                                                                                 Gundzik]
                                                             23            Defendants.

                                                             24                                                 Complaint Filed: December 28, 2021
                                                                                                                Jury Trial Date: None Set
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                                                                                                      [PROPOSED] ORDER)
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